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                                               UNITED STATES DISTRICT COURT

                                                 DISTRICT OF CONNECTICUT



Gervil St. Louis, a.k.a. St. Louis Vervil,                    Civil Action No.: 3:13‐cv‐01132 (RNC)

                    Plaintiff,                                Consolidated with

          v.                                                  3:13‐cv‐1225∙RNC; 3:13‐cv‐1269‐RNC;

Douglas Perlitz; Father Paul E. Carrier, S.J.; Hope E.        3:13‐cv‐437 RNC; 3:13‐cv‐1480‐RNC;
Carter; Haiti Fund, Inc.; Fairfield University; The Society
of Jesus of New England; Sovereign Military Hospitaller       3:13‐cv‐1626 RNC; 3:13‐cv‐1627‐RNC;
Order of St. John of Jerusalem of Rhodes and of Malta,
American Association, USA., a.k.a. the Order of Malta,        3:13‐cv‐1628 RNC; 3:13‐cv‐1630‐RNC;
American Association, USA; John Doe One; John Doe
Two; John Doe Three; John Doe Four; John Doe Five;            3:13‐cv‐1631 RNC; 3: 13‐cv‐1633‐RNC;
John Doe Six; and John Doe Seven,
                                                              3:13‐cv‐1634‐RNC; 3:13‐cv‐1635‐RNC;

                    Defendants.                               3:13‐cv‐136∙RNC; 3:13‐cv‐1637‐RNC;

                                                              3:13‐cv‐1638‐RNC; 3:13‐cv‐1639‐RNC;

                                                              3:13‐cv‐1640‐RNC; 3:13‐cv‐1641‐RNC;

                                                              3:13‐cv‐1642‐RNC; 3:13‐cv‐1644‐RNC;

                                                              3:13‐cv‐1645‐RNC; 3:13‐cv‐1647‐RNC;

                                                              3:13‐cv‐1648 RNC; 3:13‐cv‐1701‐RNC;

                                                              3:13‐cv‐1767 RNC; 3:13‐cv‐1768‐RNC;

                                                              3 13‐cv‐1769 RNC; 3:13‐cv‐1881‐RNC;

                                                              3:13‐cv‐1906‐RNC; 3:13‐cv‐1907‐RNC;

                                                              3:14‐cv‐0125∙RNC; 3:14‐cv‐0668‐RNC


This document applies to:
                                                              January 12, 2017
Lecenat v. Perlitz, et al., 3:13‐cv‐1633‐RNC;

Dorcine v. Perlitz, et al., 3:13‐cv‐1701‐ RNC,

Deriza v. Perlitz, et al., 3:14‐cv‐668‐ RNC;

Mackenson v. Perlitz, et al., 3:14‐cv‐125‐ RNC
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              DECLARATION OF MARIO JOSEPH, A.V.


1. I am a licensed attorney who began practicing law in Haiti in 1993, first
   within the jurisdiction of the Bar of Saint-Marc, followed by the Bar of the
   Capital, Port-au-Prince, Haiti. I have extensive experience in civil trials
   before the tribunals and courts of Haiti. I have served as the managing
   attorney at the Office of International Attorneys (OIA) (Bureau des Avocats
   Internationaux (BAI)) in Port-au-Prince, Haiti, since 1996. Under my
   supervision, the OIA provides legal representation services to the victims of
   severe violations of human rights in this country. We represent the civil
   interests of our clients before tribunals of first degree, appellate courts and
   international tribunals.


2. Our firm works with judges, state attorneys, the National Police of Haiti
   (NPH) (Police Nationale d'Haïti (PNH)) and government officials by
   providing them with legal and technical assistance as well as financial
   support, and by advising the NPH. The OIA provides training to Haitian
   trainee attorneys and to students and/or legal interns from the United States,
   France, Belgium and several other countries.


3. Prior to joining the OIA, I served as a legal counsel and instructor for the
   Justice of the Peace Commission of the Catholic Church of Haiti. I held
   administrative positions and worked as a teacher. I graduated from the Ecole
   Normale, i.e., as a school teacher, and from the School of Law of the
   Gonaives, Haiti. I am also a former member of the Legal Reform
   Commission of Haiti. I have received two Ph.D. degrees, honoris causa,
   from the University of San Francisco and Moravian College, respectively.
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4. The Inter-American Court of Human Rights, whose jurisdiction was
   accepted by Haiti, has thus far handled two matters pertaining to Haiti. In the
   first matter, Yvon Neptune v. Haiti (2008), I testified before the court as an
   expert in Haitian law regarding the civil and criminal issues arising out of
   the case. In the second matter, Fleury v. Haiti (2011), I provided an affidavit
   as an expert in Haitian law following the request of the Inter-American
   Commission on Human Rights.


5. The attorneys in the present matter have engaged my services to provide
   legal opinions under Haitian law. In order to prepare my opinions, I read
   French translations of: a) the complaint of Wadson DORCINE; b) the
   declaration of Michel Emmanuel Succar; and c) “Pleadings of Father Carrier
   on the Application of Haitian law in the Matter of Perlitz.” Such documents
   are attached as an appendix to the present declaration under “Exhibit A,” and
   the original versions are attached as an appendix under “Exhibit B.” I
   consulted Brian CONCANNON, a U.S. licensed attorney who has expertise
   in Haitian law and who speaks French and Haitian Creole, in order to help
   me understand the American legal context. I will be compensated for my
   services at the hourly rate of U.S. $300.


6. They (the attorneys) asked me to explain if the facts set forth in the first 31
   pages of the complaint of Wadson DORSINE are true, how Haitian law will
   apply to the acts of Father Carrier.


7. Under Haitian law, an action seeking civil reparation may be brought before
   a tribunal in three different ways. First, during a criminal trial, pursuant to
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   Article 54 and seq. of the Haitian Criminal Instruction Code, the victim may
   act as a civil party and seek civil damages from the criminal judge as
   reparation for the loss that has been suffered. Additionally, the victim has
   the option of filing a new action seeking damages before a civil tribunal,
   provided that the accused party is found guilty by the criminal judge.
   Finally, the victim may introduce his/her action directly before a civil judge.


8. Pursuant to Article 45 of the Haitian Penal Code: “. . . shall be punished, as
   accomplices of a criminal offense or misdemeanor, those who, by way of a
   gift, a promise, threats, an abuse of authority or power, conspiracy or
   unlawful schemes, have instigated such criminal acts or given instructions to
   commit them.” The notion of an accomplice under Haitian law is broad and
   flexible. A person can be considered to be an accomplice of another
   regardless of whether there was a pre-existing arrangement between them.
   When a subordinate is prosecuted as the primary author of a crime, the
   subordinate's principals will be considered as accomplices to the extent that
   they have organized or tolerated the criminal acts of their subordinates, even
   when the principals cannot be prosecuted as co-authors.


9. Pursuant to Article 44 of the Haitian Penal Code, the accomplice is subject
   to the same punishments as the primary author, and the accomplice will be
   jointly and severally liable with the primary author for the civil reparations.


10. For example, in the trial pertaining to the Massacre of Raboteau in 2000,
   where I acted as the legal counsel for the victims, who were also seeking
   civil damages, the criminal tribunal, assisted by a jury, condemned the
   authors and accomplices jointly and severally to pay damages as a civil
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   reparation. Among the persons condemned in the civil trial were those who
   had directly participated in the massacre as well as supervisors who had not
   directly participated but who had breached their duty to refrain from
   incitement and to prevent or punish the wrongful acts of their subordinates.


11. In order to better illustrate the methodologies employed by Haitian lawyers
   in practice, it is important to briefly analyze some articles of the Haitian
   Civil Code governing non-contractual civil liability.


12. Article 1168 of the Haitian Civil Code provides: “Any act of any individual,
   which causes another to suffer a loss, obligates the person through whose
   fault such loss occurred to repair it.”


13. Article 1169 of the Haitian Civil Code provides: “Everyone is responsible
   for the damages he or she has caused by his or her own acts or by his or her
   negligence or lack of prudence.”


14. Article 1170 of said Code provides: “One is responsible for the damages
   caused by one's own acts as well as for the damages caused by those who
   are under one's supervision or direction or by the things that are under one's
   control.”


15. The foregoing provisions clearly set forth the principles governing non-
   contractual civil liability under Haitian law. They are also useful as means to
   better understand the general principles of civil liability. The liability of
   supervisors is broad and dependent on the facts. A supervisor in an
   organization may be liable when the people he or she supervises have caused
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   damage, if the supervisor had the ability to prevent such damages. Individual
   liability does not depend on the formal title of the supervisor but instead
   depends on the practical context of the supervisor's activities.


16. According to the decision of the Supreme Court of the Republic of Haiti first
   section of May 6, 1942, as published in the official Journal No. 130 of June
   23, 1942, below Article 1170, it is said: “The burden of proof lies upon the
   principal who may rebut the legal presumption of liability by any means.”


17. Article 1170 of the Civil Code creates a real legal presumption, which means
   that the party seeking recovery of the loss caused by a thing only has to
   prove the existence of the loss, whereby the thing that caused it was under
   the control of the defendant, the liability attached to the control exercised
   over the thing but not to the thing itself.


18. The victim only has to prove the loss suffered and the circumstances in
   which it occurred; the guardian of the thing has the burden of establishing
   the existence of exoneratory grounds. (Supreme Court, Second Section,
   decision dated June 10, 1954, les Deb, No. 131 of July 1, 1954).


19. The terms such as “guardian of a thing” and “principal” are not technical
   terms and therefore do not require a formal relationship in a contract. The
   relationship may be that of an employee/employer, an agent, a family or
   other. Instead, these terms describe a situation of liability in fact, which
   becomes a liability under law. Thus, the tribunal has to decide on the basis
   of the evidence if the relationship justifies the imposition of civil liability.
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20. Additionally, one should stress that the principle of vicarious liability
   derives from torts and quasi-torts.


21. Regarding quasi-torts, the proof of the facts establishing the fault of the
   responsible agent can be made by testimony, but it can also be proved by
   way of presumption. Supreme Court, May 5, 1992, Aff.P.C.S. v. Lindor.


22. A quasi-tort, hence the obligation to repair the losses resulting therefrom,
   exists only if there is a fault. It does not matter whether the obligation to
   repair the injury lies with the author of the fact or with his or her principal.
   Supreme Court, February 11, 1924; Aff. Tellus v. Gay. The fault is not
   subject to the conditions of bad faith or ill will.


23. The liability results from any act or omission. and the simple error, despite
   the confession made in good faith, derives from a lack of attention or
   negligence. Supreme Court, June 17, 1925, Aff. Martineau v. Hasco.


24. If the present matter was before a Haitian tribunal, Father Carrier could be
   both an accomplice and/or a principal of the acts committed by his
   subordinate. First, he could be held as an accomplice because he provides
   money (donations) to his subordinate in order to run the school, which was
   used by the subordinate to commit his acts. Moreover, he is a principal to the
   extent that he is liable for the acts committed by his subordinate in his
   capacity as chief of the school, which received the donations that facilitated
   the commission of the crime. Therefore, in both cases Father Carrier incurs
   civil liability for the damages suffered by the victims, which were caused by
   his subordinate.
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25. The civil laws of Haiti do not accord any protection to the civil liability
   based on the status of the principal within the hierarchy of a given
   organization. As for the entire organization, the supervisors, the officers, the
   owners, etc., it is a question of fact pursuant to Article 1170 of the Civil
   Code. The tribunal may inquire about the control and practices exercised by
   the principal over the person who caused the damage.


26. The trial pertaining to Raboteau, which took place in Gonaives in 2000,
   prosecuting members and high-ranked persons of the Armed Forces of Haiti
   (AFH) (Forces Armée d’Haiti (FAD’H)) and the paramilitary group FRAPH
   for murder and complicity in the commission of a murder, may be used as a
   relevant example with respect to the causal relationship between the
   principal and the subordinate in terms of liability when a criminal offense
   has been committed.


27. Indeed, in light of this trial, it should be noted that in one of the holdings set
   forth in the order of the dean of the criminal tribunal, it is stated: “The
   intellectual or material author of a murder and/or the accomplice of such
   murder, the intellectual author of murders and attempted murders, torturous
   acts, battery, false imprisonment, etc. (see Order of the Criminal Judge of
   the First Degree Tribunal of the Gonaives, Jean Senat FLEURY, dated
   August 30, 1999), shall incur the same punishment.” The same applies in
   regard to the civil liability that may apply jointly and severally to the
   principal and/or his or her subordinate.
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28. The Criminal Tribunal of the Gonaives condemned all the members of the
   high military chief of staff of the AFH to pay civil damages. Such
   condemnation was imposed upon all members individually, jointly and
   severally. Even though the judgment of the tribunal was reversed by the
   Supreme Court in 2005, the grounds raised by the Court had nothing to do
   with the causal relationship between the subordinates and their principals.


29. In the commentaries set forth under Article 1170 of the Haitian Civil Code
   as updated by Jean VANDAL on vicarious liability, it is expressly stated:


   1) The liability of the principal may only be rebutted if the latter proves
   that he is exonerated from liability (Supreme Court, First Section, dated
   May 6, 1942, No. 130 of June 23, 1942), 2) Article 1170 holds liable the
   supervisors and principals for the damages caused by their subordinates
   and employees, committed within the scope of the functions for which they
   were hired; 3) it does not matter whether such hired persons or
   entrepreneurs work for a flat rate, as long as the acts committed by the
   subordinates or employees have occurred within the scope of the functions
   for which they were hired; 4) the individual agreements between the
   supervisors, principals and their subordinates are not enforceable against
   third parties. (Decision of the Supreme Court dated June 5, 1945,
   Gazette du Palais of June 22, 1945 p. 741 and seq.), 5) With respect to
   vicarious liability, a judge does not have to establish any fault on the part
   of the principal. Such liability derives from the choice that the supervisor
   made when selecting the subordinate and the trust he placed in the
   subordinate. (Decision of the Supreme Court, second section of
   December 14, 1954, Les Bes, No. 145 of January 20, 1955), 6) The judge
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      whose decision is based on the legal presumption set forth in Article 1170
      of the Haitian Civil Code is not obligated to characterize the fault that was
      committed. (Supreme Court, First Section, decision of March 6, 1963,
      Jean Baptiste JACOB, Bulletin of Court Decisions 1985, Book V, p.
      208n and seq.)


Regarding the status of the subordinate: The question of whether a subordinate is
acting within the scope of his functions or not is a question of fact that is subject
to the jurisdiction of the lower courts. (Supreme Court, Second Section, Decision
of December 14, 1954, Les Deb. No. 145 of January 20, 1955)




I, Mario Joseph, A.V., in accordance with Section 1746 of Title 28 of the United
States Code, declare under penalty of perjury under the laws of the United States
that the foregoing is true and accurate.




Signed on January 12, 2017.                                 [handwritten signature]
                                                            Mario Joseph, A.V.
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                                       UNITED STATES DISTRICT COURT

                                            DISTRICT OF CONNECTICUT




GERVIL ST. LOUIS, a/k/a ST. LOUIS GERVIL,                   Civil Action No.: 3:13-cv-01132 (RNC)




                 Plaintiff,                                 Consolidated with:

                                                            3:13-cv-1225-RNC; 3:13-cv-1269-RNC;

                              V.                            3:13-cv-1437-RNC; 3:13-cv-1480-RNC;

                                                            3: 13-cv-1626-R NC; 3: 13-cv-1627-RNC;

DOUGLAS PERLITZ; FATHER PAULE. CARRIER, S.J.; HOPE E.       3:13-cv-1628-RNC; 3:13-cv-1630-RNC;
CARTER; HAITI FUND, INC.; FAIRFIELD UNIVERSITY; ÎHE         3: 13-cv-1631-RN C; 3: 13-cv-1633-RNC;
SOCIETY OF JESUS OF NEW ENGLAND; SOVEREIGN MIUTARY
HOSPITALLER OROER OF ST. JOHN OF JERUSALEM OF RHODES        3:13-cv-1634-RNC; 3: 13-cv-1635-RNC;
AND OF MALTA, AMERICAN ASSOCIATION, U.S.A., a/k/a
                                                            3 :13-cv-1636-RNC; 3: 13-cv-1637-RNC;
OROER OF MALTA, AMERICAN AsSOCIATlON, USA; JOHN
DOE ONE; JOHN OOE Two; JOHN OOE ÎHREE; JOHN DOE              3:13-cv-1638-RNC; 3:13-cv-1639-RNC;
FOUR; JOHN DOE FIVE; JOHN DOE SIX; and JOHN DOE
                                                             3:13-cv-1640-RNC; 3:13-cv-1641-RNC;
SEVEN,
                                                             3:13-cv-1642-RNC; 3:13-cv-1644-RNC;

                                                             3:13-cv-1645-RNC; 3:13-cv-1647-RNC;
                  Defendants.
                                                             3:13-cv-1648-RNC; 3: 13-cv-1701-RNC;

                                                             3:13-cv-1767-RNC; 3:13-cv-1768-RNC;

                                                             3:13-cv-1769-RNC; 3:13-cv-1881-RNC;

                                                             3:13-cv-1906-RNC; 3: 13-cv-1907-RNC;

                                                             3:14-cv-0125-RNC; 3:14-cv-0668-RNC

 This document applies to:

 Lecenat v. Perlitz, et al., 3:13-cv-1633-RNC;               January 12, 2017

 Dorcine v. Perlitz, et al., 3.13-cv-1701- RNC;

 Deriza v. Perlitz, et al., 3:14-cv-668- RNC;

 Mackenson v. Per/itz, et al., 3:14-cv-125- RNC



                               DECLARATION DE MARIO JOSEPH. AV.
     1. Je suis licencié en droit et je pratique le droit en l laïti depuis 1993, d'abord au Barreau

          de Saint-Marc puis au Barreau de la Capitale, Port-au-Prince, Haïti. J'ai une
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   expérience étendue sur les procès civils dans les Tribunaux et Cours en Haïti. Je suis le

   « Managing Attorney » du Bureau des Avocats Internationaux (BAI) à Port-au-Prince.

   Haïti, depuis 1996. Sous ma direction, le BAI offre une représentation légale aux

   victimes de graves violations de Droits Humains dans le pays. Nous représentons les

   intérêts civils de nos clients. devant les tribunaux de première instance. les cours

   d'appel, et les instances internationales.



2. Notre office travaille avec des Juges. des Commissaires du Gouvernement la Police

   Nationale d'Haïti (PNH) et des officiels du Gouvernement en les donnant une

   assistance légale. technique et matérielle. aussi bien des conseils à la PNH. Le BAI

   entraine des avocats stagiaires haïtiens et reçoit des étudiants et /ou avocats stagiaires

   en droit des Etats Unis. de la France. de la Belgique et de plusieurs autres pays.



3. Avant de rejoindre le BAI. j'ai travaillé comme avocat et instructeur de la Commission

   Justice et Paix de l'Eglise Catholique d'Hal"ti. J'ai occupé des postes administratifs et

   d'enseignants. Je suis un gradué de l'Ecole Normale, c'est-à-dire professeur de

   collège. et de !'Ecole de Droit des Gonaïves, Haïti. J'étais aussi membre de la

   Commission de Réforme du Droit en Haïti. J'avais reçu deux Doctorats. honoris

   causa. de !'University of San Francisco et Moravian College.



4. La Cour Interaméricaine des Droits Humains, dont Haïti a accepté sa juridiction. a

   traité, jusqu'à présent. deux dossiers relatifs à Haïti. Dans le premier. Yvon Neptune v.

   Haili (2008), j ·avais témoigné devant la cour comme expert en droit Haitien, sur les

   questions civiles et pénales. Dans le deuxième, F/ewy v. Ham (2011 ), à la demande de
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    la Commission lnteraméricaine des Droits Humains. f ai fourni un affidaYit comme

   expert en droit haïtien.



5. J'ai été engagé par les avocats dans le présent dossier à fournir des opinions sur Je droit

    haïtien. Pour préparer mes opinions.favais lu des traductions françaises de: a) la

   plainte de Wadson DORCTNE, b) la Déclaration de Michel Emmanuel Succar, etc)

   «Argument de Père Carrier Sur l'App1ication du droit I laïtien Dans l' Affaire Perlitz ».

   Ces documents sont en annexe à cette Déclaration comme« Exhibit A», et les

    versions originaux sont en annexe comme« Exhibit B.» J'avais consulté Brian

   CONCANNON. un avocat américain qui a de l'expérience dans le droit haïtien, et qui

   parle Français et Créole Haïtien. pour m ·assister à comprendre le contexte légale

   américain. Je serai compensé pour mon travail sur la base d'un taux horaire de $300

   u.s.

6. Ils ( les avocats) m'ont demandé d'expliquer si les faits affichés dans les 31 premières

   pages de la Plainte de Wadson DORSINE étaient vrais, comment le droit Haïtien

   s'appliquera à la conduite de Père Carrier.


7. En droit haïtien, l'action en Réparation civile peut être introduite par devant un

   tribunal de trois manières. D'une part. à l'occasion d'un procès pénal. et aux termes de

    l'article 54 et suivants du Code d1nstruction Criminelle haïtien. dans la mesure où la

   partie victime peut se constituer partie civile et demander au juge pénal des dommages

   et intérêts en contre partie des préjudices subis. D'autre part. la \iictime a aussi la

   possibilité d'introduire une nouvelle action en dommages et intérêts par devant un

   tribunal civil dès lors que le juge pénal reconnait la culpabilité de l'accusé. Enfin. la

   victime peut exercer l'action directement par devant un juge civil.
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8. Suivant l'article 45 du Code Pénal Haïtien : « seront punis comme complice d 'une

   action de crime 011 délit ceux qui. par dons, promesses. menaces. abus d 'autorité ou de

   pouvoir. machinations. ou artifices coupables auront provoqué celle action ou donné

   des instructions po11r la commettre ». La complicité dans le droit Haïtien est un

   concept assez large et flexible. La complicité peut exister sans qu'il y ait une entente

   préalable entre les différentes personnes. Lorsqu'un subordonné est poursuivi comme

   auteur principal d'un crime et même lorsque ses supérieurs hiérarchiques ne peuvent

   être poursuivis comme cc-auteurs. ils sont considérés comme complices dans la

   mesure où ils ont organisé ou toléré les agissements criminels de leurs subordonnés.



9. Dans le Code Pénal Haïtien en son article 44, le complice est aussipuni de la même

   peine que l'auteur, et il sera aussi responsable des réparations civiles solidairement

   avec rauteur.



1O. Par exemple, dans le procès du Massacre de Raboteau en 2000 dont j'étais l'avocat des

   victimes, partie Civile. le Tribunal Criminel avec assistance de jury a condamné à la

   réparation civile les auteurs et les complices aux dommages-intérêts solidairement.

   Parmi ces condamnés civils. il y avait ceux qui ont participé directement dans le

   massacre, mais aussi des superviseurs qui n'ont pas participé directement, mais qui

   n'ont pas respecté leur obligation à décourager, empêcher ou punir les mauvais actes

   de leurs subordonnés.
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11. Pour bien illustrer les approches méthodologiques des juristes haïtiens dans la pratique.

   il est important de faire une analyse sommaire de quelques articles du Code Civil

   Haïtien établissant la responsabilité civile extracontractuelle.




12. L 'art.-1 168 du Code Civil Haïtien énonce : « Tout fait quelconque de l'homme. qui

   cause à autrui un dommage, oblige celui par la faute duquel il est arrivé à le

   réparer».




J3. L'art 1169 du code civil haïtien stipule: « Chacun eH re'ipomahle du dommage qu'il a

   causé. non seulement par son/ait. mais encore par sa négligence ou son impnidence ».




J4. L'art 1170 du même code déclare : « On est respo11sahle non seulement du dommage

   que l'on cause par son propre fait, mais encore de celui qui est causé par le fail des

   personnes dont on doit répondre ou des chosev que l'on a sous sa garde ».




15. Ces textes énoncent clairement les principes de responsabilité civile extracontractuelle

    dans le droit haïtien. Ils peuvent aider aussi à comprendre le principe général de la

    responsabilité civile. La responsabilité des superviseurs est large, et dépend des faits.

    Un superviseur dans une organisation pourrait être responsable si les gens dont il

    supervise ont causé du dommage, si le superviseur avait la possibilité d'empêcher le
Case 3:13-cv-01132-RNC          Document 900         Filed 01/17/17    Page 17 of 21




   dommage. La responsabilité individuelle ne dépend pas sur le rôle formel du

   superviseur, mais sur le contexte pratique de ses activités.



16. Selon l'arrêt de la Cour de Cassation de la République d'Haïti première section du 6

   Mai 1942. publié dans le Journal officiel NO 130 du 23 Juin 1942 au bas de r article

   1170, il est dit : « c'est au commellant à faire tomher par tous les moyens de preuve la

   présomption de responsabilité que la loi.fait peser sur lui ».




17. L'article 1170 Code Civile crée une véritable présomption légale, c'est-à-dire que la

   partie qui réclame la réparation du dommage causé par le fait d'une chose. n'a à

   prouver que l'existence du dommage et le fait que la chose qui ra causé était sous la

   garde du défendeur. la responsabilité étant attachée à la garde de la chose et non à la

   chose elle-même.




18. La preuve que doit faire la victime est limitée au fait du dommage et aux circonstances

   dans lesquelles il a été réalisé~ il revient au gardien de la chose d'établir l'existence

   des causes d'exonération. (Cass. 2cme Section, arrêt du 10 juinl 954, les Deb. No 131 du

   1cr juil. 1954 ).

19. Les phrases et mots comme « gardien de la chose » et « commettant » ne sont pas des

   termes techniques. et n'exigent pas une relation formelle dans un contrat. La relation

   pourrait être celui d'un employé/employeur. un agent. une famille. ou autre. Plutôt les

   termes décrivent une situation de responsabilité en fait, qui mène à une responsabilité
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    !égaie. Cest pour le Tribunal à décider sur la base des preuves. si la relation justifie la

    responsabilité civile.



20. De plus. il faut souligner que le principe de responsabilité civile du commettant

    découle des délits et des quasi-délits.



21. En matière de quasi-délit la preuve des faits établissant la faute de 1·agent responsable

    peut se faire par témoins et. par suite aussi par pré~omption. Cass.. 5 mai 1992.

    Aff.P.C.S. vs Lindor.




22. Il n·y a quasi- délit et par suite obligation de réparer le préjudice qui en est la

   conséquence que sïl y a faute: peu importe que la réparation du préjudice incombe à

    !'auteur du fait ou à son commettant. Cass .. 11 féuier 1924 : Aff Tellus \ s Ga~. La

    faute n'est pas soumise aux conditions de la mauvaise foi et de la \Olonté de nuire.




23. La responsabilité résulte de tout fait de commission ou d"omission. Et la simple erreur,

    malgré !"aveu fait de bonne foi. est le résultat d'un manque d"attention. de négligence.

    Cass .. 17 juin 1925. Aff Martineau \S Hasco.



24. Si cette affaire était par devant un tribunal haïtien. le Père Carrier pourrait être à la fois

    un complice et / ou un commettant des actions posées par son préposé. D'abord il

    pourrait se faire complice parce qu'il donne de rargent (dons) à son préposé pour faire

    fonctionner l'école que ce dernier avait utilisé pour commettre ses forfaits. Ensuite il

    est un commettant en ce sens qu'il est responsable des actions posées par son préposé
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   en .sa qualité de responsable de l'école qui reçoit des dons qui faciliteront la

   commission d·un crime. Donc. dans les deux cas. Je père Carrier pourrait être passible

   à des repartions civiles pour les préjudices causés aux "ictimes par son préposé.


25. Les lois civiles Haïtiennes n'accordent aucune protection à la responsabilité civile

   selon le statut d'un commettant dans la hiérarchie d'une organisation. Pour toute

   l'organisation lui-même. les superviseurs. les officiers. les propriétaires etc ... c'est une

   question de fait d'après l'article 1170 du Code Civile. Le Tribunal pourrait enquêter

   sur le contrôle et la pratique du superviseur sur celui qui a causé les dommages.



26. Le procès de Raboteau qui a eu lieu aux Gona"i\es en l'année 2000 pour juger les

    militaires. les haut-gradés des Forces Armées d'Haïti (FAD'H) et le groupe

   paramilitaire FRAPH pour crime d'assassinat et complicité d'assassinat. peut être

   considéré comme exemple probant dans Je cadre des relations de causalité entre le

    commettant et le préposé en termes de responsabilité à l'occasion d'une infraction à la

    loi pénale.



27. En effet, à la lumière de ce procès. il importe de remarquer que dans l'un des

    ATTENDU QUE énoncé dans J'ordonnance du Doyen du Tribunal Criminel. il ressort

    que : « l'auteur intellectuel. matériel et/ou complice d. Assassinat. auteur intellectuel

    d·Assassinats et Tentatives d'Assassinats. Tortures Coups et blessures volontaires.

    Arrestations Illégales etc. (voir Ordonnance du Juge D' Instruction du Tribunal de

    Première Instance des Gonaïves, Jean Senat FLEURY, en date du 30 Août 1999). une

    fois constante, devra tous punir de la même peine.» Toutefois. il y va de même pour la

    responsabilité civile qui peut s'étendre sur le commettant et/ou sur le préposé

    solidairement.
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28. Le Tribunal Criminel des Gonaïves avait condamné à des réparations civiles tous les

   membres du Haut Etat-major des FAD'H. Cette condamnation a été administrée à tous

   personnellement et solidairement. Si, cependant, en 2005. la Cour de Cassation a

   renversé le jugement dudit Tribunal. il convient toutefois de reconnaître que les motifs

   évoqués par la Cour n'avaient rien à voir avec la relation de causalité entre les

   préposés et les commettants.




29. Dans des notes mises au bas de larticle 1170 du Code Civil Haïtien mis à jour par Jean

   VANDAL sur la responsabilité du commettant il est clairement dit :

   1) la responsabilité du commettant ne tombe que devant la preuve contraire par lui

      administrée ( Ca.5.mtion, première section en date du 6Mai1942, No 130 du 23

      Juin 1942), 2) l'article 1170 rend les maitres et commettants du dommage causé

      par leurs préposés et domestiques, dans les fonctions ils les ont employés, 3) il

      importe peu que ces engagés ou entrepreneur.5 travaillent à forfait, pourvu que les

      faits accomplis par les domestiques ou préposés le .5oient dans les fonctions

      auxquelles ils .~ont employés, 4) les conventions particulières entre les maitre.5,

      commettant..; et leurs préposés ne sont pas opposables aux tiers, Arrêt de la Cour

      de Cru·sation du 5Juin1945, Gazette du Palais Numéro du 22 Juin 1945 pp 741

      et suivant, 5) En matière de responsabilité du commettant, les-juges n'ont pll.5 ii

      rechercher la fi111te de ce dernier. Cette responsabilité dérive du choix que le

      maître a fait du proposé a fait du préposé de la confiance qu 'il a placé en lui,

      Arrêt de Io Cour de Cassation, deuxième section du U Décembre 1954, Les Bes,

      No US du 20Janvier1955, 6) le juge qui ba.fe sa décision sur la présomptio11
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          légale portée en l'article 1170 du Code Civil Haïtien n'est point obligé de/aire

          ressortir la faute commise (Cassation, première section, arrêt du 6 Mars 1963,

          Jean Baptiste JACOB, Bulletin des Arrêts 1985, Tome V, PP 208n et suivant).




   De la qualité du préposé: la question de savoir si un préposé est ou non dans l'exercice

   de ses fonctions est une question de fait abandonnée à l'appréciation du juge de fond

   (Cassation deuxième section, Arrêt du 14 Décembre 1954, Les Deb. Numéro 145 du 20

  Janvier 1955).



Je, Mario Joseph, Av., en accord avec la Section l 746 de Titre 28 du Code des Etats-Unis.

déclare sous la peine de parjure sous la loi des Etats-Unis d. Amérique. que ce qui précède est

vrai et correct.




Signé, le 12 janvier, 2017.
